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                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

        In Re:
                                                                     CHAPTER 11
        FOODFIRST GLOBAL RESTAURANTS,
        INC., et al.,                                                CASE NO.: 6:20-bk-02159-LVV

                         Debtors.                                    Jointly Administered 1


            AMENDED 2 MOTION FOR ADMISSION OF BRADFORD J. SANDLER TO
            PRACTICE PRO HAC VICE, DESIGNATION OF LOCAL COUNSEL, AND
                                CONSENT TO ACT

                   The Official Committee of Unsecured Creditors (“UCC”), by and through its

        proposed undersigned counsel, pursuant to Local Rule 2090-1, hereby files this Amended

        Motion to Admit Bradford J. Sandler (“Movant”) of Pachulski Stang Ziehl & Jones LLP

        Pro Hac Vice in the above-styled action. In support of this motion, Movant states as

        follows:

                   1.    Movant is licensed to practice in the States of New York, Pennsylvania,

        Delaware, and New Jersey and is a member in good standing of the bar of said states.

                   2.    Movant is admitted to practice before the United States District Court for

        Delaware; New Jersey; the Eastern District of Pennsylvania; and the Southern District of

        New York.

                   3.    Movant designates Mark J. Wolfson, a resident Florida attorney, of the law



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         Jointly administered cases: FoodFirst Global Restaurants, Inc., Case No. 6:20-bk-002159-LVV; FoodFirst
        Global Holdings, Inc., Case No. 6:20-bk-02161-LVV; Brio Marlton, LLC, Case No. 6:20-bk-02162-LVV;
        Brio Tuscan Grille of Maryland, Inc., Case No. 6:20-bk-02163-LLV; Brio Tuscan Grille of Baltimore,
        LLC, Case No. 6:20-bk-02164-LVV; Brio Tuscan Grille of Cherokee, LLC, Case No. 6:20-bk-02165-LVV;
        Cherry Hill Two, LLC, Case No. 6:20-bk-02166-LVV; and Bravo Development of Kansas, Inc., Case No.
        6:20-bk-02167-LVV.


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        firm of Foley & Lardner LLP, who is qualified to practice in this Court and who consents

        to designation as local counsel.

                   4.    Movant certifies that he has never been disbarred and is not currently

        suspended from practice in the States of New York, Pennsylvania, Delaware, and New

        Jersey, or any other state, nor from any United States Bankruptcy Court, District Court or

        Court of Appeals.

                   5.    Movant certifies that he has not previously moved for admission pro hac

        vice to appear in a proceeding in the United States District Court for the Middle District

        of Florida.

                   6.    Movant certifies further that he will make himself familiar with and shall

        be governed by the local rules of this Court, the rules of professional conduct, and all

        other requirements governing the Middle District of Florida District Court and the

        Orlando Division of the United States District Court.

                   7.    Movant’s business address, telephone number, facsimile number and e-

        mail address are as follows: Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 34th

        Floor, New York, NY 10017-2024; Telephone: (212) 561-7704; Facsimile: (212) 561-

        7777; E-Mail: bsandler@pszjlaw.com.

                   8.    Within fourteen days from the date of an order granting this motion,

        Movant shall pay to the Clerk of the United District Court for the Middle District of

        Florida an Attorney Special Admission Fee in the amount of $150.00 accompanied by a

        copy of the Court’s order. Upon payment of the fee, Movant shall file a Notice of



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         This motion is being amended to comply with the Court’s Order Abating Motion to Appear Pro Hac Vice
        (DE 84)


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        Compliance with the Clerk of the United States Bankruptcy Court.

                   WHEREFORE, Movant respectfully requests entry of an order authorizing his

        admission to practice and represent the UCC in this case and any related proceedings.



                   Dated this 23d day of April, 2020.

                                                             /s/ Bradford J. Sandler
                                                            Bradford J. Sandler
                                                            New York Bar No. BS1367
                                                            PACHULSKI STANG ZIEHL & JONES
                                                            LLP
                                                            780 Third Avenue, 34th Floor
                                                            New York, NY 10017-2024
                                                            Telephone: (212) 561-7704
                                                            Facsimile: (212) 561-7777
                                                            E-Mail: bsandler@pszjlaw.com

                                                             Attorneys for the Official Committee
                                                             of Unsecured Creditors




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                               CONSENT TO ACT AS LOCAL COUNSEL

                   I, Mark J. Wolfson, an attorney qualified to practice in this Court, consent to

        designation as local attorney for Bradford J. Sandler of Pachulski Stang Ziehl & Jones

        LLP, and agree to serve as designee with whom the Court and opposing counsel may

        readily communicate regarding the conduct of this case, and upon whom papers shall be

        served in accordance with Local Rule 2090-1.

                                                          /s/ Mark J. Wolfson
                                                          Mark J. Wolfson
                                                          Florida Bar No. 352756
                                                          FOLEY & LARDNER LLP
                                                          100 North Tampa Street, Suite 2700
                                                          Tampa, FL 33609
                                                          Telephone: (813) 225-4119
                                                          E-Mail: mwolfson@foley.com

                                                          Local Counsel to the Official
                                                          Committee of Unsecured Creditors

                                                          Filers Attestation: Pursuant to Local
                                                          Rule 1001-2(e)(3) regarding signatures,
                                                          Mark J. Wolfson attests that
                                                          concurrence in the filing of this paper
                                                          has been obtained.


                                       CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY that a true and correct copy of the foregoing AMENDED

        MOTION FOR ADMISSION OF BRADFORD J. SANDLER TO PRACTICE PRO

        HAC VICE, DESIGNATION OF LOCAL COUNSEL, AND CONSENT TO ACT

        has been served on this 23rd day of April, 2020 electronically via the Court’s CM/ECF

        system upon the CM/ECF participants.

                                                          /s/ Mark J. Wolfson
                                                          Mark J. Wolfson



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